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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF INDIANA
                          HAMMOND DIVISION AT LAFAYETTE

                                                :
In re:                                          :
                                                :
   Collin Bradley Clark                         :       Case No.: 19-40131
   Lori Ann Clark                               :       Chapter 7
                                                :       Chief Judge Robert E. Grant
         Debtor.                                :       *********************
                                                :


            AGREED NOTICE OF WITHDRAWAL OF MOTION FOR RELIEF
                              (DOCKET NO. 13)

         Now comes Nationstar Mortgage LLC d/b/a Mr. Cooper ("Creditor") by and through

counsel, and the Standing Chapter 7 Trustee Edward Chosnek, and in support of this Agreed

Notice of Withdrawal of Motion for Relief State as follows:

         1. Creditor filed a Motion for Relief from Stay and Abandonment on May 21, 2019.

         2. Since the filing of the Motion for Relief from Stay and Abandonment, the Trustee has

            determined that there is insufficient equity in the real estate to benefit the estate.

         3. As such the Trustee believes that the objection should be withdrawn and Creditor’s

            Motion should be granted as no other parties objected.

         4. The parties respectfully request that the Objection to the Motion for Relief from Stay

            and Abandonment be withdrawn and the hearing currently scheduled for June 12,

            2019 at 11:30 AM be removed from this Court’s calendar.


Submitted by:

/s/ Sarah E. Barngrover
Sarah E. Barngrover (28840-64)
Edward H. Cahill (0088985)
Adam B. Hall (0088234)

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Attorneys for Creditor
The case attorney for this file is Sarah E. Barngrover.
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/s/ Edward Chosnek______
Edward Chosnek
Chapter 7 Trustee
P.O. Box 708
Lafayette, IN 47902




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